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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                               )
                                                       )
               v.                                      )       No. 1: 19-cr-10459-RWZ-37
                                                       )
LUIS MENDEZ                                            )


     NOTICE OF DEFENDANT’S CONSENT TO A JURY-WAIVED TRIAL

       On August 4, 2020, the Court conducted a hearing on the Defendant’s Motion for

Review of Detention Order [Dkt #987]. At that time, the Court also addressed the

Defendant’s objections to exclusions of time under the Speedy Trial Act, raising the

possibility of proceeding via bench trial. The Defendant is amenable to waiving his right

to a jury trial and proceeding via bench trial. However, counsel for the government has

advised that the government does not consent to a bench trial. As Federal Rule of

Criminal Procedure 23(a) requires the consent of the government in proceeding via a

bench trial, it does not appear that a bench trial will be possible.

       The Defendant maintains that the delay in bringing him to trial is unwarranted

under the Speedy Trial Act and violates his Sixth Amendment right to a speedy trial.

                                                            Respectfully submitted,

                                                            /s/ Scott Lauer
                                                            Scott Lauer
                                                            B.B.O.# 667807
                                                            Assistant Federal Public Defender
                                                            Federal Defender Office
                                                            51 Sleeper Street, 5th Floor
                                                            Boston, MA 02210
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                              CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on August 5, 2020.

                                                      /s/ Scott Lauer
                                                      Scott Lauer




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